                               SETIL!~'.MENT    AGREEMENT

       This Settlement Agreement ("Agreement") is entered into among the United

States of America, acting through the United States Department of Justice and on behalf

of the Office oflnspectol' General of the Department of Health and Human Services

("OIG-HHS"), the TRlCARE Management Activity (UTMA"), the United States Office

of Personnel Management C'OPM"), the United States Depal1ment of Veterans Affairs

("VA"), and Office of Workers' Compensation Programs of the United States

Department of Labor ("DOL~OWCP") (collectively '~he United States"); Kevin J. Ryan

("Relator"); and TranS 1, Inc., now known as Baxano Surgical, Inc., ("TranS 1"), through

their allthol'ized representatives. Collectively, all of the above will be refel'red to as "the

Parties."

                                          RECITALS

        A.      TranS 1 is a Delaware corporation headquartered in Raleigh, North

Carolina. At alll'elevant times herein, TranS I developed, manufactured, distl'ibuted,

marketed, and sold medical devices in the United States, including devices sold undel' the

trade name ofAxiaLIF® that a1'e cleared by the United States Food and Drug

Administration (FDA) for use in axiallumbal' interbody fusion (AxiaLIF), a minimally·

invasive surgical technique that was developed as an alternative to traditional open and

invasive surgical techniques such 'as anterior lumbar intel'body fusion (ALIF). Unlike the

ALlF procedul'e In which surgeons typically access the lower spine through the abdomen,

the AxiaLlF procedul'e entails accessing the lower spine through an approximately l·inch

Incision next to the tailbone. Effective May 31, 2013, TranS 1 I'eorganized and changed

its name to Baxano Surgical, Inc. Baxano Surgical, Inc, is the corporate successor to




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TranS 1, and it agrees that Baxano has assumed all liabilities and obligations arising under

this Agreement.

        B.       On April 21, 2011, Relator filed a qui tam action in the United States

District COllrt for the District of Mal'yland captioned United States ex reI. Ryan v.

TranSl, Inc., Civil No. MJO 11-1041 (D. Md.), pursuant to the qui tam provisions of the

False Claims Act, 31 U.S.C. § 3730(b) (the Civil Action).

        C.       The United States contends that TranS I submitted or caused to be

submitted claims for payment to the Medicare Program ("Medicare"), Title XVIII of the

Social Security Act, 42 U.S.C. §§ 1395-1395Idck-I, and to the Medicaid Program

("Medicaid"), Title XIX of the Social Security Act, 42 U.S.C. §§ 1396·1396v. The

United States further alleges that Tl'anS I caused claims for payment ofAxiaLIF to be

submitted to the TRICARE program, 10 U.S.C. §§ 1071-III0b; the Federal Employees

Health Benefits Program ("FEHBPII), 5 U.S.C. §§ 8901-8914; the following DOL-

OWCP programs: the Federal Employees' Compensation Act ("FECA"), 5 U.S.C. §

8101 et seq.; and caused purchases of AxiaLIF by the VA, 38 U.S.C. §§ 1701-1743

(collectively, the "Other Federal Health Care Programs").

         D.      The United States contends that it has certain civil claims, as specified in

Paragraph 5, below, against TranS 1 for engaging in the following conduct during the

period January 1,2008 through September 30, 20 II (hereinafter referred to as the

"Covered Conduct"):

         (1) TranS 1 knowingly caused providers to submit claims for Jninimally~invasjve
         AxiaLIF procedures using incorrect diagnosis or procedure codes, including codes
         intended fol' invasive ALIF procedures, such as 22558, 01' for unlisted spine
         procedures, 22899, which In some cases resulted in pl'oviders receiving greater
         reimbursement than that to which they were entitled; (2) TranS 1 knowingly
         offered and paid iJlegall'emuneration to certain physician providers for
                                               2
Sea/ement Agreement Between
United StatrIS and TranS), Inc.




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        participating in speaker programs and consultant meetings in a manner intended
        to induce them to lise TranS 1 products in violation of the Federal Anti-Kickback
        Statute, 42 U.S.C. § 1320a-7b(b); and (3) TranS! knowingly promoted the sale
        and use of axial lumbar interbody filsion devices for uses that were not approved
        or cleared by FDA. including In certain spine. procedures involving complex
        deformity affecting vettebrallevels other than the levels for which AxiaLIF is
        FDA-cleared. Some of these uses were not reasonable and necessary fol' the
        diagnosis or tl'eatment of an illness 01' injury, contrary to 42 U.S.C. §
        1395y(a)(I)(A), and thus were not covered by Medicare, Medicaid, or the Other
        Federal Health Care Programs.

As a result of the foregoing conduct, the Government alleges that TranS! knowingly

caused false 01' fraudulent claims to be submitted to, or caused purchases by, Medicare,

Medicaid, and the Other Federal Health Care Programs.

          E.      This Settlement Agreement is made in compromise of disputed claims.

This Settlement Agreement is neither an admission ofliabiJity by TranS! nor a

concession by the United States that its claims are not well founded. TranS 1 expressly

denies the allegations ofthe United States and Relator sct fOlth herein and in the Civil

Action.

          F.      TranS I has entered or will be entering into a separate settlement

agreement with the state of North Carolina in settlement of the Covered Conduct under

which North Carolina'S claims are released.

          O.      Relator claims entitlement under 31 U.S.c. § 3730(d) to a share of the

proceeds of this Settlement Agreement and to Relator'S reasonable expenses, attorneys'

fees and costs,

          To avoid the delay, uncertainty, inconvenience, and expense of protracted

litigation of the above claims, and in consideration of the mutual promises and

obligations of this Settlement Agreement, the Parties agree and covenant as follows:



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United States and TranSl, Inc.




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                                 TERMS AND CONDITIO~S

        1,      TranS 1 shall pay to the United States the sum $6,000,000 (the "Settlement

Amount"), plus intel'est accrued thereon at the rate of2% per annum from February 11,

2013, and continuing until and including the day before the final payment is made under

this Agreement. On the Effective Date of this Agreement, this sum shall constitute a debt

due and immediately owing to the United States, The Settlement Amount shall be paid as

follows;

        a.      TranS 1 shall pay to the United States the Settlement Amount plus intel'est

accrued thereon at the rate of 2% per annum, in accordance with the payment schedule

attached hereto as Exhibit A, Within seven (7) days after the Effective Date c;>fthis

Agreement, TranS 1 shall pay the United States the initial fixed paymentin the amount of

$546,027.40 and thereafter make principal payments with interest according to the

schedule in Exhibit A,

        b.       All payments set forth in Paragraph l(a) shall be made to the United States

by electronic funds transfer pursuant to written Instructions to be pl'ovided by the

Department of Justice. The entire balance of the Settlement Amount, or any portion

thereof, plus any interest accrued on the principal as of the date of any prepayment, may

be prepaid without penalty.

        2.       In the event that TranS I fails to pay the Settlement Amount as provided in

Paragraph I and Exhibit A, within seven (7) calendar days of the date upon which each

such payment is due, TranS J shall be in Default of its payment obligations (UDefault").

The United States will provide a wl'itten Notice of Default, and TranS] shall have an

opportunity to cure such Default within seven (7) calendar days from the date of receipt


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Sefllement Agreement Bulween
United States and TranS/, Inc.




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of the Notice of Default. Notice of Defau It will be delivered to Peter Spivack, Esq"

Hogan Lovells US LLP, 555 Thirteenth Street, N,W" Washington, D,C, 20004, or to

sllch other representative as TranS 1 shall designate in advance in writing, If TranS 1 fails

to cure the Default within seven (7) calendar days of receiving the Notice of Default, the

remaining unpaid balance of the Scttlement Amount shall become immediately due and

payable, and interest on TranS 1's share shall thereafter accrue at the rate of 12% per

annum, compounded daily from the date of Default, on the remaining unpaid total

(principal and interest balance), TranS 1 shall upon execution of this Settlement

Agreement entel' into a Consent Judgment. The United States, at its sole discretion, may

(a) offset the remaining unpaid balance from any amounts due and owing to TranS 1 by

any department, agency, or agent of the United States at the time of the Default; OJ'

(b) exercise any other rights granted by law OJ' in eqUity, including the option of referring

such matters for private collection, TranS 1 agrees not to contest any offset imposed and

not to contest any collection action undertaken by the United States pursuant to this

Paragraph, either administratively or in any state or federal COUl't, except on the grounds

of actual payment to the United States. At its sole option, the United States alternatively

may rescind this Agreement and pursue the Civil Action or bring any civil andlol'

administrative claim, action, or proceeding against TI'anS I for the claims that would

otherwise be covered by the releases provided in Paragraphs 5 - 10, below, In the event

that the United States opts to J'cscind this Agl'eement pursuant to this Paragraph, TranSl

agrees not to plead, argue,       OJ'   othel'wise raise any defenses of statute of limitations,

laches, estoppel or similar theories, to any civil         01'   administrative claims that are (a) filed

by the United States against TranS 1 within 12{) days of written notification that this


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Agreement has been rescinded, and (b) relate to the Covered Conduct, except to the

extent these defenses were available on or before April 21, 201 1.

       3.       Conditioned upon the United States receiving the initial fixed payment in

the amount of $546,027.40 from TranS I, as described in Paragraph 1.1.1, above, and as

soon as feasible after receipt, the United States shall pay $92,824.61 to Relator by

electronic funds transfer. Contingent upon the United States receiving each additional

payment from TranS 1 identified in the schedule in Exhibit A, as soon as feasible after

receipt of each payment, the United States agrees to make the corresponding additional

payment to Relator according to the schedule in Exhibit A.

        4.      TranS 1 has entered or will be entering into a separate settlement

agreement with Relator under which Relator will release all claims arising under 31

U.S.C. § 3730(d) for expenses and attorney's fees and costs arising from the filing of the

Civil Action.

        5.      Subject to the exceptions in Paragraph 11 (concerning excluded claims)

below, and conditioned upon TranSl 's full payment of the Settlement Amount, and

subject to Paragraph 21, below (concerning bankruptcy proceedings commenced within

91 days of the Effective Date ofthis Agreement or any payment made under this

Agreement), the United States releases TranSl, together with its cunent or former direct

or indirect parent and member corporations; direct and indirect subsidiaries; direct or

indirect brother or sister corporations; divisions; current or former owners; and    OffiCCI'S,


directors, employees, and affiliates; and the successors and assignees of any of them,

from any civil or administrative monetal,), claim the United States has for the Covered

Conduct undel' the False Claims Act, 3 LU.S.C. §§ 3729-3733j the Civil Monetary

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United Stales and TranS].   Inc.




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Penalties Law, 42 U.S.C. §       1320a~7aj   the Program Fraud Civil Remedies Act, 31 U.S.C,

§§ 3801-3812j any statutory provision creating a cause of action for civil damages or

civil penalties for which the Civil Division of the Department of Justice has actual and

present authority to assert and compromise pursuant to 28 C,P,R, Part 0, Subpart [,

0.45(d)j or the common law theories of payment by mistake, disgorgement, unjust

enrichment, and fraud,

        6,       Subject to the exceptions in Pal'agraph II below, and conditioned upon

TranS I 's full payment of the Settlement Amollnt, and subject to Paragraph 2J, below

(concel'lling bankruptcy proceedings commenced within 91 days of the Effective Date of

this Agreement or any payment made under this Agreement), Relator, fOf himself and for

his heit·s, successors, attorneys, agents, and assigns, releases T"anS I, together with its

current 01' former direct or indirect parent and member corporations; dircct and indirect

subsidiaries; direct 01' indirect brother or sister corporations; divisions; current or former

owncrsj and officers, directors, employees, and affiliates; and the successors and

assignees of any of them, from any ,civil monetary claim the relator has on behalf ofthe

United States for the Covered Conduct undel' the Paise Claims Act, 31 U.S.C. §§ 3729-

3733.

        7.       In consideration of the obligations ofTranSl in this Agreement and the

Corporate Integrity Agreement (CIA), entered Into between OIG-HHS and TranS 1, and

conditioned upon TranS 1's full payment of the Settlement Amount, the OTG-HHS agrees

to release and refrain from instituting, directing, or maintaining any administrative action

seeking exclusion from Medicare, Medicaid, and other Federal health care programs (as

defined in 42 U.S.C. § 1320a-7b(f)) against TranS 1 under 42 U.S.C. § 1320a-7a (Civil

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Settlement Agreement Between
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Monetary Penalties Law) or 42 U.S.C. § 1320a-7(b)(7) (permissive exclusion for fraud,

kickbacks, and othel' prohibited activities) for the Covered Conduct, except as reserved in

Paragraph 11 (concerning excluded claims), below, and as reserved in this Paragraph.

The OIO-HHS expressly reserves all rights to comply with any statutory obligations to

exclude TranS 1 from Medicare, Medicaid, and other Federal health care programs under

42 U.S.C. § 1320a-7(a) (mandatory exclusion) based upon the Covered Conduct.

Nothing in this Paragl'aph precludes the OIG·HHS from taking action against entities or

persons, or for conduct and practices, for which claims have been reserved in Paragraph

11, below.

         8.       In consideration of the obligations of TranS 1 set forth in this Agreement,

and conditioned upon TI'anS 1's full payment of the Settlement Amount, TMA agrees to

release and I'efrain from instituting, directing, or maintaining any administrative action

seeking exclusion from the TRICARE Program against TI'anSl under 32 C.P.R. § 199,9

for the Covered Conduct, except as reserved in Paragraph 11 (concerning excluded

claims), below, and as reserved in this Paragraph. TMA expressly reserves authority to

exclude TranS 1 from the TRICARE Program under 32 C.P.R. §§ 199.9 (f)(1 )(i)(A),

(t)(l)(i)(B), and (f)(l)(iii), based upon the Covered Conduct. Nothing in this Paragraph

precludes TMA or the TRICARE Program from taking action against entities or persons,

or for conduct and practices, for which claims have been reserved in Paragraph 11,

below,

         9.         [n consideration onhe obligations of TranS 1 in this Agreement, and

conditioned upon TranS 1'8 full payment of the Settlement Amount, OPM agrees to

release and refrain from instituting, directing, or maintaining any administrative action


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against TranS 1 under 5 U.S.C. § 8902a or 5 C.F.R. Part 970 fol' the Covered Conduct,

except as reserved in Paragl'aph 11 (concerning excluded claims), below and except If

required by 5 U.S.C. § 8902a(b). Nothing in this Paragraph precludes OPM from taking

action against entities OJ' persons, or for conduct and practices, for which claims have

been reserved in Paragraph 11, below.

        10.       In consideration of the obligations of TranS 1 In this Agreement, and

conditioned upon TranS t 's full payment of the Settlement Amount, DOL-OWCP agrees

to release and refrain from instituting, directing, or maintaining any administrative action

seeking exclusion and debarment from the FECA program against TranS I under 20

c.r.R. § 10.815 for the Covered Conduct, except as reserved in Paragraph 11 (concerning
excluded claims), below and except ifexcluded by the OlG·HHS pursuant to 42 U.S.C.

§ 1320a-7(a). Nothing in this Paragraph pl'ecludes the OWCP ofthe DOL £l'om taking

action against entitles or persons, 01' for conduct and pI'actices, for which claims have

been reserved in Paragraph 11, below.

         11.     Notwithstanding the releases given in Paragraphs 5 - 10 of this

Agreement, or any other term of this Agreement, the following claims of the United

States are specifically reserved and are not released:

                 a.       Any liability arising under Title 26, U.S. Code (Internal Revenue

                          Code);

                 b.       Any criminal liability;

                 c.        Except as explicitly stated in this Agl'eement, any administrative

                           liability, including mandatory exclusion from Federal health care

                           programs;


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                d.       Any liability to the United States (or its agencies) fOI' any conduct

                         other than the Covered Conduct;

                e.       Any liability bascd upon obligations created by this Agt'eement;

                f.       Any liability fa]' express   01'   impJled warranty claims or other

                         claims for defective 01' deficient products or services, including

                         quality of goods and services;

                g.       Any liability for failure to deliver goods 01' services due; and

                h.       Any liability for personal injury or property damage or for other

                         consequential damages arising from the Covered Conduct.

        12.     Relator and his heirs, successors, attorneys, agents, and assigns shall not

object to this Agreement but agree and confirm that this Agreement is fair, adequate, and.

reasonable under atI the circumstanccs, pursuant to 31 U.S.C. § 3730(c)(2)(8). Relator

expressly waives the opportunity for a hearing on any objections to the Settlement

Agreement pursuant to 31 U,S.C. § 3730(c)(2)(B). Conditioned upon Relator's receipt of

the payments described in Paragmph 3, Relator and his heirs, successors, attorneys,

agents, and assigns fully and finally release, waive, and forever discharge the United

States, its agencies, officers, agents, employees, and servants, from any claims arising

fi'om the filing of the Civil Action or under 31 U.S.C. § 3730, and from any claims to a

share of the proceeds of this Agreement and/or the Civil Action.

        13.     Relator, for himself and for his heirs, successors, attorneys, agents, and

assigns, releases TranS 1, and its officers, agents, and employees, from any liability to

Relator arising from the filing of the Civil Action, or under 31 U.S.C. § 3730(d) for

expenses or attorney's fees and costs.


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        14.     In consideration of the obligations of Relator set forth in this Agreement,

TranS I for itself and for its partners, heirs, successors, transferees, attorneys, agents and

assigns, releases Relator from any and all liability, claims, demands, actions or causes of

action whatsoever, known or unknown, fixed or contingent, in law or in equity, in

contract or in tort, under any federal or state statute or regulation or at common law 01'

that it otherwise would have standing to bring against Relator.

        15.     Tl'anSl waives and shall 110t assert any defenses TranS! may have to any

criminal prosecution or administrative action relating to the Covered Conduct that may be

based in whole or in part on a contention that, undet· the Double Jeopardy Clause in the

Fifth Amendment of the Constitution, or under the Excessive Fines Clause in the Eighth

Amendment of the Constitution, this Agreement bars a remedy sought in such criminal

prosecution or administrative action. Nothing in this paragraph or any other provision of

this Agreement constitutes an agreement by the United States concerning the

characterization of the Settlement Amount for purposes of the Internal Revenue laws,

Title 26 of the United States Code.

        16.      TranS 1 fully and finally releases the United States, its agencies, officers,

agents, employees, and servants, from any claims (including attorney's fees, costs, and

expenses of every kind and however denominated) that TranS 1 has asserted, cou Id have

asserted, or may assert in the fi.lture against the United States, its agencies, officers,

agents, ~mployees, and servants, related to the Covered Conduct and the United States'

investigation and pl'Osecution thereof.

        17.      The Settlement Amount shall not be decJ'eased as a result of the denial of

claims for payment now being withheld from payment by any Medicare contractol' (e.g.,

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Settlement Agreement Between
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Medicare Administrative Contractor, fiscal intermediary, carrier), TRICARE or FEHBP

carrier or payer, or any state or federal payer, related to the Covered Conduct; and

TranS 1 agrees not to resubmit to any Medicare contractor, TRICARE or FEHBP carrier

01'   payer, or any state or federal payer any previously denied claims related to the

Covered Conduct, and agrees not to appeal any such denials of claims,

           18.    TranS 1 agrees to the following:

           a,     Unallowable Costs Defined: All costs (as defined in the Federal

Acquisition Regulation, 48 C.F.R. § 31.205.47; and in Titles XVlII and XIX of the

Social Security Act, 42 U.S.C. §§ 1395-1395kkk·l and 1396-1396w-5; and the

regulations and official program directives promulgated thereunder) incurred by or on

behalf of TranS 1, its present or forme)' officers, directors, employees, shareholders, and

agents in connection with:

                                  <I)     the matters covered by this Agreement;

                                  (2)     the United States' audit(s) and civil and criminal

                                          investigations of the matters covered by this

                                          Agreement;

                                  (3)    TranS 1's investigation, defense, and cOl'l'ective

                                          actions undertaken in response to the United States'

                                          audit(s) and civil and criminal investigations in

                                          connection with the matters covered by this

                                          Agreement (including attorney's fees);

                                  (4)     the negotiation and performance of this Agreement;




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                                  (5)   the payment TranS 1 makes to the United States

                                        pursuant to this Agreement and any payments that

                                        TranSl may make to Relator, including costs and

                                        attorney's fees; and

                                  (6)   the negotiation of, and obligations lIndeltaken

                                        pursuant to the CIA to:

                                  (a)   retain an indepcndent review organization to

                                        perform annual reviews as described in Section lIT

                                        ofthe CIA; and

                                  (b)   prepare and submit reports to the OIG~HHS

are unallowable costs for government contracting purposes and under the Medicare

Program, Medicaid Program, TRICARE Program, and Federal Employees Health

Benefits Program (FERBP) (hereinafter referred to as Unallowable Costs).

        b.       Future Treatment of Unallowable Costs: Unallowable Costs shall be

separately determined and accounted for by TranS I, and TranS I shall not charge such

Unallowable Costs directly or indirectly to any contracts with the United States or any

State Medicaid program, or seek payment for such Unallowable Costs through any cost

report, cost statement, information statement, or payment request submitted by TranS! or

any of its subsidiaries or affiliates to the Medicare, Medicaid, TruCARE, or FEHBP

Programs.

         c.      Treatment of Unallowable Costs Previously Submitted for Payment:

TranS} further agrees that within 90 days ofthe Effective Date ofthis Agreement it shall

identify to applicable Medicare and TRICARE fiscal intermediaries, carriers, andlor


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contractors, and Medicaid and FEHBP fiscal agents, any Unallowable Costs (as defined

in this Paragraph) included in payments previously sought from the United States, or any

State Medicaid program, including, but not limited to, payments sought in any cost

reports, cost statements, information reports, or payment requests already submitted by

TranS 1 or any of its subsidiaries or affiliates, and shalll'equest, and agl'ee, that such cost

reports, cost statements, information reports, or payment requests, even if already settled,

be adjusted to account fOl' the effect of the inclusion ofthe Unallowable Costs, TranS 1

agrees that the United States, at a minimum, shall be entitled to recoup fi'om TranS 1 any

overpayment plus applicable interest and penalties as a result of the Inclusion of such

Unallowable Costs on previously-submitted cost reports, information reports, cost

statements, or requests for payment.

         Any payments due after the adjustments have been made shall be paid to the

United States pursuant to the direction of the Department of Justice andlor the affected

agencies. The United States reserves its rights to disagr~e with any calculations

submitted by TranS I or any of its subsidiaries or afftliates on the effect of inclusion of

Unallowable Costs (as defined in this Paragraph) on TranS 1 01' any of its subsidiaries or

affiliates' cost reports, cost statements, 01' information repolts,

         d,        Nothing in this Agreement shall constitute a waiver of the rights of the

United States to audit, examine, or re-examine TranS} 's books and records to determine

that no Unallowable Costs have been claimed in accordance with the provisions of this

Paragraph,




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          19.        This Agreement is intended to be for the benefit of the Parties only. The

Parties do not release any claims against any other person or entity, except to the extent

provided for in Paragraph 20 (waiver for beneficiaries paragraph), below.

           20.       TranS 1 agrees that it waives and shall not seek payment for any of the

health care billings covered by this Agl'eement from any health care beneficiaries or their

parents, sponsors, legally responsible individuals, 01' third party payers based upon the

claims defined as Covel'ed Conduct.

          21.         TranS 1 warrants that it has reviewed its financial situation and that it

cUrI'ently is solvent within the meaning of 11 U.S.C. §§ S47(b)(3) and S48(a)(I)(B)(li)(I),

and shall remain solvent following payment to the United States of the Settlement

Amount. Further, the Parties warrant that, in evaluating whether to execute this

Agreement, they (a) have intended that the mutual promises, covenants, and obligations

set forth constitute a contemporaneous exchange for new value given to TranS I, within

the meaning of II U.S.C. § 547(c)(I), and (b) conclude that these mutual promises,

covenants, and obligations do, in fact, constitute such a contemporaneous exchange.

Further, the Parties warrant that the mutual promises, covenants, and obligations set forth

herein are intended to and do, in fact, represent a reasonably equivalent exchange of

value that is not intended to hinder, delay, or defraud any entity to which TranS 1 was or

became indebted to on 01' after the date of this transfer, within the meaning of 11 U.S.C.

§ 548(a)(1).

           22.        Ifwithin 91 days of the Effective Date of this Agreement 01' of any

payment made under this Agreement, TranS 1 commences, or a third party commences,

any case, proceeding, or other action under any law relating to bankruptcy, insolvency,

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reorganization, or relief of debtors (a) seeking to have any order for relief of TranS l' s

debts, or seeking to adjudicate TranSl as bankrupt or insolvent; or (b) seeking

apPo,intment of a receiver, trustee, custodian, or other similar official for TranS] or for all

or any substantial part of TranS 1's assets, TranS! agrees as follows:

        a.       TranS! 's obligations under this Agreement may not be avoided pursuant

to 11 U,S.C. § 547, and TranS 1 shall not argue or otherwise take the position in any such'

case, proceeding, Ot· action that: (i) TranS 1's obligations under this Agreement may be

avoided under II U.S.C. § 547; (Ii) TranSl was Insolvent at the time this Agreement was

entered Into, or became insolvent as a result of the payment made to the United States; or

(iii) the mutual promises, covenants, and obligations set forth in this Agreement do not

constitute a contemporaneous exchange for new value given to TranS 1.

        b.       If TranS 1's obligations undel' this Agreement are avoided for any

reason, including, but not limited to, through the exercise ofa trustee's avoidance powers

under the Bankruptcy Code, the United States, at its sole option, may rescind the releases

in this Agreement and bring any civil and/or administrative claim, action, or proceeding

against TranSl fol' the claims that would otherwise be covered by the J'eleases provided in

Paragraphs 5 - 10, above. TranSI agrees that <i) any such claims, actions, or proceedings

brought by the United States al'e not subject to an "automatic stay" pursuant to 11 U.S.C.

§ 362(a) as a result ofthe action, case, OJ' proceedings descI'ibed in the first clause of this

Paragraph, and TranS 1 shall not al'gue or otherwise contend that the United States'

claims, actions, or proceedings are subject to an automatic stay; (ii) TranS I shall not

plead, argue, or otherwise raise any defenses under the theories of statute of limitations,

laches, estoppel, or similar theories, to any such civil or administrative claims, actions, or

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Unltad States and TranSl, Inc.




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proceeding that are brought by the United States within 120 calendar days of written

notification to TranSl that the releases have been rescinded pursuant to this Paragraph,

except to the extent such defenses were available on April 21, 2011; and (iii) the United

States has a valid claim against TranS 1 in the amount of$17,250,OOO, and the United

States may pursue its claim in the case, action, or proceeding referenced in the first clause

ofthis Paragraph, as well as in any other case, action, 01' proceeding.

         c.        TranS 1 acknowledges that its agreements in this Paragraph are provided in

exchange for valuable consideration provided in this Agreement.

         23.       On the effective date ofthis Agreement or any date thereafter the United

States shall file in the Civil Action a Notice oflntervention as to the Covered

Conduct. Upon receipt of the initial fixed payment in the amount of $546,027.40 from

TranS 1, as described in Paragraph l.a, above, the United States and the Relatol' shall

promptly sign and file in the Civil Action a Joint Stipulation of Dismissal as follows:

          a.        The stipulation of dismissal shall be subject to the terms and conditions of

this Agreement. The dismissal shall be with prejudice as to the United States' and

Relator's claims as to the Covered Conduct;

          b.       The stipulation of dismissal shall be without prejudice as to the United

States and with prejudice as to Relator as to all other allegations set forth in the Civil

Action.

          24,       Each Party shall bear its own legal and other costs incurred in connection

with this matter, including the preparation and performance of this Agreement.

          25.       Each party and signatory to this Agreement represents that it fi'eely and

volunta1'ily enters in to this Agreement without any degree of duress or compulsion.

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SeIl/(Jtn(Jnl Agl'eelll(Jn/ Between
Unil(Jd Slates and n'anSI, Inc.




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         26.     This Agreement is governed by the laws of the United States. The

exclusive Jurisdiction and venue for any dispute relating to this Agreement is the United

States District Court for the District of Maryland. For purposes of construing this

Agreement, this Agreement shall be deemed to have been drafted by all Parties to this

Agreement and shall not, therefore, be construed against any Party for that reason in any

subsequent dispute.

         27.     This Agreement constitutes the complete agreement between the Parties.

This Agreement may not be amended except by written consent of the Parties.

         28.     The undersigned counsel represent and warrant that they are fully

authol'ized to execute this Agreement on behalf of the persons and entities indicated

below.

         29.     This Agreement may be executed in counterparts, each of which

constitutes an original and all of which constitute one and the same Agreement.

         30.     This Agreement is binding on TranSl 's successors, transferees, heirs, and

assigns.

         31.     This Agreement is binding on Relator's successors, transferees, heirs, and

assigns.

         32.     All parties consent to the United States' disclosure of this Agreement, and

information about this Agreement, to the public.

           33.   This Agreement is effective on the date of signature of the last signatory to

the Agreement (Effective Date of this Agreement). Facsimiles ofsignatul'es shall

constitute acceptable, binding signatures for purposes ofthis Agreement.




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Sell/ement Agreement Between
United States and Tl'anSl, Inc.




Case 7:12-cv-00023-D Document 46-1 Filed 08/09/13 Page 18 of 24
 DATED:       ~L'/-.tj~f}                BY:.~.                                      __.... ,..,.

                                                  THOMAS H. BARNARD
                                                  Asshltrmt United States Attorneys
                                                  Ofl1oc of the United St(ltes Attorney
                                                  tor tho District of Maryland




 DATED:       _~JU/I'3                   BY      ~
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                                                  Trial Attomey
                                                  Commercial Litigation Brnncl-\
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                                                  United States Department of Jmltice




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                                                  Assistant Inspector Geneml for Legal Affairs
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                                                  U.S. Departmcltt of Health and H.uman Services




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Case 7:12-cv-00023-D Document 46-1 Filed 08/09/13 Page 19 of 24
                                     Associ c General Counsel for
                                     PAUL J. HUTTER General Counsel
                                     TRICARE Management Activity
                                     United States Department of Defense

DATED:     _~_
                                  BY: ____________________
                                     SHIRLEY R. PATTERSON
                                     Assistant Director for Federal Employee
                                     Insurance Operations
                                     United States Office of Personnel Management
DATED: _ __                       BY: ___________________
                                     DAVlD COPE Debarring Official
                                     Office of the Assistant Inspector General for Legal Affairs
                                     United States Office of Personnel Management

DATED: _ __                       BY: ____________________
                                     JULIA TRITZ
                                     Acting Deputy Directof, Division of Federal
                                     Employees' Compensation
                                     Office of Workers' Compensation Programs
                                     United States Department of Labor




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 Unlled Siaies and TranSI, Inc.




  Case 7:12-cv-00023-D Document 46-1 Filed 08/09/13 Page 20 of 24
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                                       PAUL J. BUITER
                                       General Counsel
                                       TRlCARE Management Activity
                                       United States Depaltment of Defense




DATED:      :&/P5!UI3
             F,                  BY:
                                         HIRLEY . ATTERSON
                                       Assistant ireotor for Federal Employee
                                       Insurance Operations
                                       United States Office of Personnel Management




DATED:6~                         BY~~:=
                                     ~ DAVlDCOPE
                                       Debarring Official
                                       Office afthe Assistant Inspector General
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DATED: _ _--'-_                  BY: __~~~~______~___
                                       JULIA TRITZ
                                       Acting Deputy Director, Division ,of Fcderal
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                                       Office of Workers' Compensation Programs
                                       United States Department of LabQr




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Un/ted Slates ana TranSJ. inc.




Case 7:12-cv-00023-D Document 46-1 Filed 08/09/13 Page 21 of 24
 DATED:       _~       __             BY: _ _ _ _ _ _ _ "__._...__. _
                                           PAULJ.HUTTER
                                            Geneml Counsel
                                            TruCARE Management Activity
                                            United States Department of Defense




 DATED: _ _ __                        BY:
                                            SHIRLEY R. PATI'ERSON
                                            Assistant Director for Federal Employee
                                            Insurance Operations
                                            United States Office of Personnel Management




 DATED: _ __                          BY: _______________________
                                            DAVID COPE
                                            Debarring Official
                                            Office of the Assistant Inspector General
                                             for Legal Affairs
                                            United States Office of Personnel Management




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                                             mployees I Compensation
                                            Office of Workers' Compensation Programs
                                            United States Department of Labor




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 Settlement Agreement Be/wl1lln
 United Slates alld Tl'aIlS!, /IIC.




Case 7:12-cv-00023-D Document 46-1 Filed 08/09/13 Page 22 of 24
                                  TRANS1.INC.




                                  BY:~
                                     ?     KENREALI
                                           President & Chief Executive Officer

                                           On BehalfofTranSl, Inc., now known as
                                           Baxano Surgical, Inc.




DATED:       C'o·2S,·, S          BY:   -..;::~:::::'=--"""--=-:-P'r-.:-:--:::-:::-::--­
                                            PETERS. SP


                                           Counsel to TranS 1, Inc., now known as
                                           Baxano Surgicnl, Inc.




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Uniled Slates und TranSJ, Illc.




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